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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 In re:                                 ) Chapter 11
                                        )
 BCause Mining LLC,                     )
                                        ) Judge Janet S. Baer
 Debtor/Debtor-in-Possession.           )
                                        ) Case No. 19-10562


                                NOTICE OF MOTION

 TO:      ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on the 4th day of September, 2019, at 10:00
 a.m., or soon thereafter as counsel can be heard, I shall appear before the
 Honorable Janet S. Baer, Bankruptcy Judge, in the room usually occupied by him
 as Courtroom 615 in the United States Bankruptcy Court in the Everett McKinley
 Dirksen Federal Building, 219 S. Dearborn Street, Chicago, Illinois, or before any
 other Judge who may be sitting in his place and stead and shall present the
 Motion of Debtor for Authority to Sell Assets Pursuant to Section 363(b)
 and (f) of the Bankruptcy Code and Shorten Notice, a copy of which is
 attached hereto and herewith served upon you, and shall pray for the entry of an
 Order in compliance therewith.

          AT WHICH TIME and place you may appear if you so see fit.

                                                 /s/Scott R. Clar
                                                 Crane, Simon, Clar & Dan
                                                 135 S. LaSalle St., # 3705
                                                 Chicago, Illinois 60603
                                                 (312) 641-6777

                            CERTIFICATE OF SERVICE

        The undersigned, being first duly sworn on oath deposes and states that
 he caused a copy of the foregoing Notice and attached Motion to be served on all
 parties listed on the attached Service List via the Court’s Electronic Registration
 /email (as indicated) on the 30th day of August, 2019.

                                                        /s/Scott R. Clar




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                                      SERVICE LIST

Court’s Electronic Registration:
  Patrick S. Layng                              J. Mark Fisher
  Office of the United States Trustee           Sarah K. Angelino
  219 S. Dearborn St., Rm. 873                  Schiff Hardin LLP
  Chicago, IL 60604                             233 S. Wacker Dr., #7100
  USTPRegion11.ES.ECF@usdoj.gov                 Chicago, IL 60606
                                                mfisher@schiffhardin.com
   David A. Agay                                sangelino@schiffhardin.com
   Shara C. Cornell
   MCDONALD HOPKINS LLC                         Brian L. Shaw
   300 North LaSalle Street, # 1400             Christina Sanfelippo
   Chicago, IL 60654                            Fox Rothschild LLP
   dagay@mcdonaldhopkins.com                    321 N. Clark St., #1600
   scornell@mcdonaldhopkins.com                 Chicago, IL 60654
                                                bshaw@foxrothschild.com
   Maria G. Carr                                csanfelippo@foxrothschild.com
   McDonald Hopkins LLC
   600 Superior Avenue, #2100                   Jennifer McLain McLemore
   Cleveland, OH 44114                          Williams Mullen
   mcarr@mcdonaldhopkins.com                    200 S. 10th St., #1600
                                                Richmond, VA 23219
   Jamie L. Burns                               Jmclemore@williamsmullen.com
   Levenfeld Pearlstein, LLC
   2 N. LaSalle Street, Suite 1300              Jason M. Torf
   Chicago, Illinois 60602                      IceMiller
   jburns@lplegal.com                           200 W. Madison Street Suite 3500
                                                Chicago, IL 60606-3417
   Marc I. Fenton                               Jason.torf@icemiller.com
   Levenfeld Pearlstein, LLC
   2 N. LaSalle Street, Suite 1300              VIA EMAIL
   Chicago, Illinois 60602                      George Bogris
   mfenton@lplegal.com                          Mintzer Sarowitz Zeris Ledva &
                                                  Meyer
   Devon J. Eggert                              810 Gleneagles Court, #304
   Shelly A. DeRousse                           Towson, MD 21286
   Elizabeth L. Janczak                         gbogris@defensecounsel.com
   Freeborn & Peters LLP
   311 South Wacker Drive, # 3000               Paul Bozych
   Chicago, IL 60606                            Nielsen, Zehe & Antas, P.C.
   deggert@freeborn.com                         Wesco Distribution, Inc.
   sderousse@freeborn.com                       55 W. Monroe St., Ste. 1800
   ejanczak@freeborn.com                        Chicago, IL 60603
                                                pbozych@nzalaw.com

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 Seth A. Robbins                            cfomedia@cbp.dhs.gov
 Robbins Law Group                          US Customs & Border Protection
 1100 N. Glebe Rd., Ste. 1010               6650 Telecom Drive, #100
 Arlington, VA 22201                        CSC
 srobbins@robbins-lawgroup.com              3462 Solution Center
                                            Chicago, IL 60677-3004
 Russell R. Johnson III
 John M. Craig                              MarkWomble@alphacrafttech.com
 Law Firm of Russell R. Johnson III,        AlphaCraft Technologies, LLC
 PLC                                        601 Railroad Ave.
 2258 Wheatlands Drive                      South Boston, VA 24592
 Manakin Sabot, VA 23103
 russell@russelljohnsonlawfirm.com          Justice@prowindow1.com
 john@russelljohnsonlawfirm.com             Pro Window, Inc.
                                            Attn: Justice White, Mgr.
                                            1604 Virginia Beach Blvd.
 Alison.zizzo@mpopc.com                     Virginia Beach, VA 23452
 Alison Zizzo
 Midgett-Pret-Olansen                       mkirsner@eckertseamans.com
 2901 S. Lynnhaven Rd., Ste. 120            Matthew B. Kirsner
 Virginia Beach, VA 23452                   Eckert Seamans
                                            919 East Main St., Ste. 1300
 gaylene.watson@dominionenergy.co           Richmond, VA 23219
 m
 Gaylene Watson                             billm@bfpe.com
 Dominion Energy Virginia                   sflannery@bfpe.com
 2700 Cromwell Drive                        BFPE International
 Norfolk, VA. 23509                         PO Box 791045
                                            Baltimore, MD 21279-1045
 kristopher.c.russell@dominionenergy
 .com                                       mark@m3electric.com
 Kristopher C. Russell                      Bay Technologies
 Key Account Manager                        4501 Bainbridge Blvd., #200
 Customer Service and Strategic             Chesapeake, VA 23320
 Partnerships
 Dominion Energy Virginia                   gcrone@CBcriticalsystems.com
 2700 Cromwell Drive                        CB Critical Systems
 Norfolk, VA 23509                          Attn: Gregory Crone
                                            11816 Mason Park Way
 l.cofield@coingeek.com                     Glen Allen, VA 23059
 BMG Operations Ltd.
 44 Church Street                           hross@horizonkinetics.com
 St. John's                                 HK Cryptocurrency Mining LLC
 Antigua                                    470 Park Avenue South
                                            New York, NY 10016

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                                            Christy.Lohoski@silbarsecurity.com
 hross@horizonkinetics.com                  Silbar Security Corporation
 Horizon Kinetics LLC                       1508 Technology Drive, #101
 470 Park Avenue South                      Chesapeake, VA 23320
 New York, NY 10016
                                            pkessler@solutrix.com
 arlemary@amazon.com                        Solutrix
 Amazon Web Services, Inc.                  5469 Greenwich Road
 410 Terry Avenue North                     Virginia Beach, VA 23462
 Seattle, WA 98109-5210
                                            james.foy@inateone.com
 kevin.fallon@bcause.com                    Inate One LLC
 EF Fallon, Kevin                           1083 Independence Blvd., #206
 2800 252nd Ave.                            Virginia Beach, VA 23455
 Salem, WI 53168




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                     IN THE UNITED STATES BANKRUTPCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                              )           Case No. 19-10562
                                    )
BCause Mining, LLC, et al.          )           Judge Janet S. Baer
                                    )           Chapter 11
     Debtors/Debtors-in-Possession. )           (Jointly Administered)

          MOTION FOR AUTHORITY TO SELL ASSETS PURSUANT TO
      SECTION 363(b) OF THE BANKRUPTCY CODE AND SHORTEN NOTICE

         BCause LLC, Debtor/Debtor-in-Possession herein (“LLC”), by and through its

attorneys, hereby presents its Motion for Authority to Sell Assets Pursuant to Section

363(b) and (f) of the Bankruptcy Code and Shorten Notice, and in support thereof,

states as follows:

         1.    On April 11, 2019, BCause Mining, LLC (“Mining”) filed its voluntary

petition for relief under Chapter 11 of the Bankruptcy Code. On April 12, 2019, LLC

filed its voluntary petition for relief under Chapter 11 of the Bankruptcy Code (“LLC

Petition Date”).

         2.    Mining and LLC (collectively, “Debtors”) are managing their financial

affairs as debtors-in-possession.   No trustee or examiner has been appointed.       An

Official Committee of Unsecured Creditors has been appointed to serve in these

reorganization cases.

         3.    On May 8, 2019, this Court entered an order providing for the joint

administration of the Mining and LLC bankruptcy cases.

         4.    Mining is in the crypto currency mining business, which is the process of

producing digital currency using cryptography and high-powered computers known as

mining rigs, or miners. Mining now mines itself, and is a service provider that hosts a

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mining venue for its customers. Its mining facility is located in Virginia Beach, Virginia,

and it formerly maintained offices located at 130 S. Jefferson Street, Suite 101,

Chicago, Illinois, 60661.

       5.      Mining is wholly owned by LLC.

       6.      Both Debtors’ Chapter 11 filings were triggered by a judgment entered in

favor of WESCO Distribution, Inc. in the approximate amount of $1,300,000 and a

garnishment of LLC’s bank account, from which all of the Debtors’ bills are paid.

       7.      Among the assets of LLC is a 100% membership interest (“MI”) in an

entity entitled BCause Secure, LLC, a Virginia limited liability company (“Secure”).

Secure is currently a dormant entity with no substantial assets of its own. LLC is in

receipt of a Term Sheet proposal for the sale of 75% of the MI as detailed in the Term

Sheet attached hereto as Exhibit A and incorporated by reference herein (the

“Proposal”).

       8.      Pursuant to the Proposal a group of investors (“Investors”) shall purchase

the MI in Secure as follows:

       A.        After the Bankruptcy Court has approved assumption by Secure, of LLC’s
       liabilities to Nasdaq Technology AB (“Nasdaq”),1 Investors shall contribute a total
       of $390,000 to Secure to be used solely for the benefit of the operations of
       Secure, payable in three (3) installments as follows:

              i) upon payment of the first installment of $130,000, the Investors will
       receive 25% of the MI;

             ii) payment of the second installment of $130,000, shall be due and
       payable not later than thirty five (35) days after the successful launch of the Spot




1 LLC has filed a motion to approve assumption and assignment of the Nasdaq IT Services Agreement,

as amended (the “Nasdaq Motion”) The Nasdaq Motion is scheduled to be heard on September 4, 2019
at 10:00 a.m.

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        Exchange,2 currently scheduled for September 18, 2019, and upon payment, the
        Investors will receive an additional 25% of the MI; and

                iii) payment of the third installment of $130,000, shall be due and payable
        upon Secure reaching $225,000 in daily volume of trades for the preceding thirty
        (30) days, for a total of $6.75 million in total volume of trades over the preceding
        thirty (30) days (estimated to be December 21, 2019), and upon payment,
        Investors will receive the final 25% of the MI for a total of 75% of the MI;

        B.      Holdings shall be entitled to the first $1,000,000 of cash flow from
        Secure’s operations, which funds will be used to fund distributions to the Debtor’s
        creditors. Free cash flow is defined as the cash generated by Secure after
        payment of support expenses, and excludes non-cash expenses, but includes
        expenses for equipment and other assets. So as to avoid doubt, the first
        $1,000,000 of the free cash flow from Secure’s operations will be used to fund
        distributions to LLC’s creditors, after which LLC will continue to receive 25% of
        Secure’s cash flow until all creditors are paid in full under LLC’s plan of
        reorganization.

        C.      For purposes of clarity, this obligation shall remain at 25% of free cash
        flow generated by operations even if Secure raises additional capital that results
        in the further dilution of LLC’s ownership interest in Secure.

        9.      LLC is unaware of any party asserting a lien or security interest in the MI

and accordingly, seeks authority to enter into an agreement, in form and substance

substantially similar to the terms described in the Proposal, to sell the MI, free and clear

of all interests, liens, claims and encumbrances pursuant to Section 363(f) of the

Bankruptcy Code.

        10.     While the Court must find a good business reason to authorize the sale,

the Court may use its discretion in making that determination, via a flexible case by

case approach. In re Efoora, Inc., 472 B.R. 481, 489 (Bkrtcy.N.D.Ill. 2012). Once the

Debtor has established a valid business justification for the proposed sale, the Business

Judgment Rule creates a presumption that the business decision was based upon “an


2 A spot exchange is akin to a money conversion facility in an airport.
                                                                     In the case of BCause Secure, it is
an online facility where people can convert national currencies to cryptocurrency, cryptocurrency from
one form to another, and cryptocurrency back to national currency.

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informed basis, in good faith and in the honest belief that the action was taken in the

best interests of the company.” In re S.N.A. Nut Company, 186 B.R. 98, 102

(Bkrtcy.N.D.Ill. 1995) (citing Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985));

Official Committee of Subordinated Bondholders v. Integrated Resources, Inc. (In re

Integrated Resources, Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992).           Good business

reasons exist for the sale of the MI to the Investors.

       11.    The benefits to the LLC bankruptcy estate from this transaction include the

following:

       A.     LLC estate’s creditors will be repaid 100% of their claims as a result
              of the transaction;

       B.     Secure is assuming over $1 million of debt owed by LLC to
              Nasdaq; and

       C.     LLC will significantly reduce its monthly expenses.

       12.    The Debtors request that notice given of this motion be deemed sufficient

under the circumstances, since the intention is to launch the spot exchange by

September 19, 2019, and notice has been given to all parties entitled to notice in this

case. The Committee has been an active negotiator of the terms of the sale and the

Proposal.

       WHEREFORE, for the forgoing reasons, BCause LLC, Debtor/Debtor-in-

Possession, prays for the entry of an Order as follows:

       A.     Authorizing BCause LLC to enter into and effectuate the terms of an

agreement to sell 75% of its membership interest in BCause Secure, LLC, free and

clear of all liens, claims and encumbrances, such agreement to be substantially similar

in form and substance to the Proposal attached hereto as Exhibit A;



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       B.     Deeming notice given of the motion to be sufficient; and




       C.     Granting such other relief as may be just and appropriate.

                                            BCause LLC,
                                            Debtor/Debtor-in-Possession,
                                            By: \s\ Scott R. Clar
                                                 One of its attorneys

BCAUSE LLC’s COUNSEL:
Scott R. Clar (Atty. No. 06183741)
Crane, Simon, Clar & Dan
135 S. LaSalle Street, Suite 3705
Chicago, Illinois 60603
312-641-6777
W:\MJO2\BCause Mining LLC\Sell Assets.MOT




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